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                       IN THE UNITED STATES DISTRICT COURT                               AUG 23 20l8
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division                                   CLERK, U.S. DISTRICT COURT
                                                                                          RICHMO'•JD VA



UNITED STATES OF AMERICA

v.                                              Criminal Action No. 3:16CR139


RICHARD TODD HAAS,

        Defendant.


                                 MEMORANDUM OPINION

        This matter is before the Court on DEFENDANT'S MOTION TO

SUPPRESS        AND    MOTION    FOR     A     FRANKS        HEARING       (ECF   No.       128).

Defendant Richard Todd Haas               ("Haas")      first seeks an evidentiary

hearing, pursuant to Franks v. Delaware, 438 U.S. 153 (1988), to

challenge the completeness               of statements made                in an affidavit

supporting       a    search    warrant      for     Haas'     2015    Volkswagen         Jetta.

Haas     also    moves    to    suppress       all    evidence        seized      during      the

ensuing search of the Jetta.                   For the       reasons discussed below,

the motion will be denied in both respects.

                                        BACKGROUND

        On   August      31,    2016,    FBI       Special     Agent       Melvin     Gonzalez

("Gonzalez")          presented         Magistrate           Judge     Young         with       an

application for a search warrant for:                    ( 1) Haas' residence at 23 6

Monath Road,          North Chesterfield,            Virginia;       and    (2)   Haas'      2015

Jetta. See Search Warrant (ECF No. 27-1) at Attachments A-B. The
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application was supported by a                           lengthy affidavit from Gonzalez

("the First Affidavit"), which asserted probable cause based, in

part,      on    Haas'        communications                  with     a   confidential                witness

("CW") .    See       First Aff.      <.lI<.lI   7-13.       Magistrate Judge Young granted

the     application,           and      FBI         agents          executed       the       warrant        on

September        1,    2016.    Second            Aff.       (ECF    No.   14-1)    <.lI   25.     As    Haas'

counsel     explained at             oral         argument,          among the      items        recovered

from the car was sex paraphernalia                              (a purple vibrator) that Haas

allegedly        used     to    commit             other        child      molestation           offenses,

evidence of which is the subject of the UNITED STATES' NOTICE OF

INTENT AND MOTION TO INTRODUCE OTHER ACTS EVIDENCE PURSUANT TO

FED. R. EVID. 414 AND 404 {b)                      {ECF No. 81).

        The agents searched Haas'                        residence and Jetta when he was

not present.          They were aware,                from surveillance,                   that Haas was

at work,        so they then went to his work address and found him in

his work vehicle, a 1995 Ford tractor-trailer truck, after which

they    arrested        him    for     aggravated               sexual      battery         of     a    minor.

While searching Haas' person and the truck, the agents recovered

a   Samsung Galaxy S5 cellphone and laptop,                                 respectively.               Second

Aff. <.lI 25.     Gonzalez      then             submitted       an    application           for       another

search warrant for the Ford truck and Samsung cellphone,                                                 which

was     supported        by    the       Second              Affidavit.      That          affidavit       was
                                                         2
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identical to the First Affidavit except for Paragraph 25, which

summarized       the   events     following          the    execution         of      the     search

warrant on September 1. See id.; see also United States v. Haas,

No.    3:16CR139,      2017 WL 1712521,             at *3       (E.D.   Va.     May 2,         2017).

Later     that     day,   Magistrate          Judge        Young       granted      the        second

warrant application,            and a    search of the laptop in the truck

revealed       numerous        images    of         children       engaged         in        sexually

explicit conduct. Haas, 2017 WL 1712521, at *3.

        On January 3,         2017, Haas moved to suppress evidence seized

during the Ford truck search. See ECF No.                          14. Haas argued then,

much    like     he    does     now,    that        he    was    entitled        to      a     Franks

evidentiary          hearing     because        the        Second       Affidavit             omitted

information relevant to CW' s              reliability.            He also claimed that

the Second Affidavit did not allege enough facts to support the

finding     of     probable      cause     to       search       the     truck.         The     Court

rejected       the     first     argument,           concluding          that      the         Second

Affidavit        had   fully     disclosed          the     information          necessary          to

assess CW's reliability. Haas, 2017 WL 1712521, at *7-8.

        At the same time, the Court held that the Second Affidavit

failed to establish probable cause as to the truck because there

was no nexus between that location and the evidence to be seized

from it,    including the laptop with pornographic images.                                    Id.   at
                                                3
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*8-9. That finding did not require suppression, however, because

the good-faith exception applied,                     and the Second Affidavit was

not    so    lacking        in   indicia     of probable       cause   to make    the    FBI

agents' reliance on it objectively unreasonable. Id. at *10.

        The contents of the Second Affidavit-and,                       by implication,

those of the First Affidavit-are detailed in the Court's opinion

denying Haas'          initial motion to suppress.              See id. at *l-3. That

opinion also describes Gonzalez's testimony about his knowledge

of CW' s         history when preparing the First Affidavit.                 See id.      at

*3-4.       As    a   result,     the   Court    will    not    restate   those   details

here.

        Against this background,               the Court will turn to the attack

now made on the First Affidavit and the search of the Jetta.

                                            DISCUSSION

I.      Omission of Facts from the First Affidavit

        Franks        set    forth      a    two-part    test     "clarifying     what     a

criminal         defendant must         show when challenging          the veracity of

statements made             in an    affidavit       supporting a      search warrant."

United States v. Lull,               824 F.3d 109, 113          (4th Cir. 2016}. Under

the first facet of the test,                    the defendant must establish that

an affiant included a false statement or omitted relevant facts

"' knowingly          and   intentionally,       or   with     reckless   disregard      for
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the truth.'" Id. at 114 (quoting Franks, 438 U.S. at 155}. Under

the second facet of the test,                    the defendant must show that the

facts    stated       in    the    affidavit          are    insufficient       to   establish

probable cause without the false or omitted information.                                      "Both

prongs must be proven by a preponderance of the evidence." Id.

        Haas   now     asserts       that    Gonzalez         knowingly     or       recklessly

omitted several            relevant pieces of information from the                            First

Affidavit,       including:          (1)     CW's       criminal      history;         ( 2}     the

existence      of     text       messages    between         Haas    and   CW    showing        her

contact with the police and her continued work as a prostitute;

(3)   the fact       that police had not corroborated CW' s                          statements

that Haas had shown her child pornography on his laptop and had

told her that the victims were neighborhood children;                                  and      ( 4}

the contents of the full transcripts of the calls between CW and

Haas. None of these arguments is persuasive.

        The    Court       has    already        addressed      the    omission        of      CW's

criminal history and the phone call transcripts in the context

of the Second Affidavit,                which is no different than the                        First

Affidavit. The current motion presents no basis for the Court to

reconsider      its     earlier      decision         that    those    omissions       did      not

merit     a    Franks        hearing.       "A    motion       for    reconsideration            is

appropriate where the Court has patently misunderstood a party,
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has made a decision outside the adversarial issues presented to

the Court by the parties, or has made an error not of reasoning

but of apprehension." Paasch v.                          Nat' 1 Rural Elec. Coop. Ass' n,

No.   115CV01638GBLMSN, 2016 WL 10519130, at *2                                  (E.D. Va. May 27,

2016)     (citing     Above      the     Belt,           Inc.    v.    Mel       Bohannan    Roofing,

Inc.,   99    F.R.D.       99,    101        (E.D.       Va.     1983)).         But   motions         that

simply "ask [ J a       court to             'rethink what             the Court had already

thought      through-rightly            or     wrongly'           should         not   be   granted."

TomTom, Inc. v. AOT Sys. GmbH, 17 F. Supp. 3d 545, 546 (E.D. Va.

2014)     (quoting Above          the    Belt,           99     F.R.D.      at    101).     The       Court

previously noted that CW' s criminal history did not need to be

included in the Second Affidavit because she had an otherwise

"forthcoming        nature"       with        FBI        agents,       and       "there      [wa]s       no

indication      that    her       past        offenses           had       any    bearing        on     her

interactions        with      Haas."         Haas,         2017       WL     1712521,       at        *7-8.

Similarly,     the Court did not consider the claim about the call

transcripts      in    detail      because               "the    transcripts .                strongly

suggest that Haas was interested in obtaining nude pictures of

young     children,"       such    that         their           inclusion        would      have       only

bolstered the probable cause finding.                            Id. at *6 n.9. Haas points

to no new evidence making that analysis improper.                                      Instead,         his

argument     amounts       to    nothing        more          than     disagreement          with       the
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Court's         decision,           which,      of     course,            does          not      make

reconsideration appropriate. See TomTom, 17 F. Supp. 3d at 546.

       Haas' other arguments fare no better. He first asserts that

the    First       Affidavit        should     have   included        some        of     the     text

messages between CW and Haas because they would have revealed

that     CW     was        "continuing    to    violate       the     law    while            working

for/with       the      [FBI]      agents,"    Def.    Mot.     (ECF       No.      128)       at     3,

because        the         communications       showed        CW's        prostitution               and

interaction           with    Henrico     County      police.       But     her         work    as     a

prostitute is readily inferable from Gonzalez's statement in the

First Affidavit that CW had "provided escort services to Haas"

for the four years that she knew him.                         First Aff.          <JI   7.    "Escort

services" can,             of course,     mean legal or illegal activity,                            but

either meaning carries a negative connotation, which is all that

is relevant for purposes of CW's reliability. -
                                              See Haas,
                                                - ---                                         2017 WL

1712521,      at      *7     (accepting      Government's      assertion          that         use    of

"escort" showed that Gonzalez "was not trying to hide the nature

of     the    relationship          between     CW"    and     Haas        (quotation           marks

omitted) ) .     Moreover,         even if that meaning was not clear,                              this

argument is indistinguishable from Haas'                        contention about CW' s

criminal history, which has now been rejected twice.                                    It remains

true     that      "CW       was    forthcoming       with     the     police,           correctly
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identified           Haas        in    photos, . . . provided                [Haas']      cellphone

number to agents," and "never once provided information to the

agents that they subsequently determined was false." Id. at *8. 1

As a result,           there was simply no need for Gonzalez to include

every single piece of information that would have only minimally

affected       CW's        reliability,          including           the   text    messages.       See

United States v. Colkley, 899 F.2d 297, 300 (4th Cir. 1990)                                        ("An

affiant       cannot        be    expected       to       include     in   an     affidavit      every

piece         of      information              gathered         in     the      course      of      an

investigation."). Gonzalez's omission of those messages was thus

not intentional or reckless in the manner required for a Franks

hearing.

        The        First    Affidavit's           failure        to    mention      the    lack     of

corroboration of CW' s statements that Haas had shown her child

pornography          on     his       laptop    and       had   identified        the    victims    as

neighborhood children is of no moment                                for similar reasons.           As

discussed,          providing this             sort       of information to support CW' s

credibility          might        have     been       appropriate          "[i]f    CW    had     done

something to make the agents question her truthfulness," but she

1
  As the Court noted before, the absence of any lies by CW in the
course   of  her   relationship  with   FBI  agents   makes  Lull
inapposite. Haas, 2017 WL 1712521, at *7. Because the text
messages do not show that CW lied to or even deceived the
agents, they do not change that distinction.
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had not.      Haas,    2017 WL 1712521,                       at *8.    It is also unclear why

corroborating         the     victimization                    of    neighborhood        children         in

particular         should    have      affected               the     probable       cause     analysis;

Gonzalez      likely    omitted          the         information         because        he     deemed     it

irrelevant. See Colkley, 899 F.2d at 301. In any event, Gonzalez

explicitly         stated    that      FBI           agents         corroborated       other     details

provided by the CW,             such as Haas'                       telephone number,           which in

turn     helped       the     FBI     uncover                 more     facts     suggesting            child

molestation.         First Aff.      <JI<JI    9,        20-22.      Given these circumstances,

the    Court       cannot     find            that        the       omission     of     the     lack      of

corroboration constitutes a Franks violation.

       Because Haas          cannot           identify any             intentional        or    reckless

omissions of relevant facts in the First Affidavit, his request

for a Franks hearing must be denied.

II.    Existence of Probable Cause

       The     Fourth       Amendment               requires          probable        cause     for      the

issuance      of     warrants.       U.S.            Const.         amend.     IV.    Probable         cause

exists      where,     looking       at            the     totality      of    the     circumstances,

Maryland v. Pringle,            540 U.S. 366,                   371    (2003),       "the known facts

and circumstances are sufficient to warrant a man of reasonable

prudence in the belief that contraband or evidence of a crime

will   be    found,"        Ornelas           v.     United States,            517     U.S.     690,     696
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(1996);     see also Illinois v.                  Gates,         462     U.S.     213,    232        (1983)

(probable        cause     is     "a    fair       probability             that     contraband           or

evidence of a crime will be found in a particular place"). This

concept is a "fluid" one depending on the facts of a case,                                              and

is thus "not readily, or even usefully, reduced to a neat set of

legal rules. 11 Gates,            4 62 U.S.        at 232.         Moreover,        "a finding of

probable        cause     does    not    require              absolute      certainty."           United

States     v.    Gary,     528    F. 3d 324,        327         ( 4th Cir.        2008);       see    also

Taylor v.        Farmer,       13 F. 3d 117,            121     {4th Cir.        1993)        (officials

need not "possess an airtight case before taking action").

       A        court      reviewing          a         magistrate's              probable           cause

determination           also    does    not       assess        the      existence       of    probable

cause de novo.           Instead,       the court must only ascertain whether

"the     magistrate        had    a    substantial              basis     for     concluding          that

probable        cause    existed."       Gates,          4 62    u. S.    at    238-3 9        ( internal

quotations omitted) ;            see also Lull,                 824    F. 3d at     115.       In doing

so,    courts should accord the magistrate's determination "great

deference," and should not invalidate warrants by "interpreting

[them] in a hypertechnical, rather than commonsensical, manner."

Gates,     462 U.S. at 236             (internal quotations omitted). Moreover,

courts     must     "give       due    weight      to      inferences           drawn     from       th [ e]



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facts by . . . law enforcement officers." Lull,                            824 F.3d at 114-

15 (internal quotations omitted).

       Haas     claims      that       there   was    not     a    substantial         basis     for

finding probable cause to search the                        Jetta for three              reasons.

First,     he   argues,       the      First Affidavit            did not    provide enough

information          to   allow      Magistrate       Judge       Young     to       assess     CW's

reliability.         Second,      Haas asserts         that       the affidavit         does     not

establish that he actually possessed child pornography. Finally,

he contends that there was an inadequate nexus between the Jetta

and the evidence of child pornography that                            the    FBI       sought to

recover.

       The common foundation of these arguments is Haas' assertion

that     the    First Affidavit was             a    "bare bones          affidavit"          filled

with "'boilerplate recitations'"                     of Gonzalez's          experience that

were not appropriately tethered to the facts of this case.                                      Def.

Mot. at 4-5 (quoting United States v. Weber, 923 F.2d 1338, 1345

(9th Cir. 1990)). Yet that claim ignores the Court's recognition

that      the     Second       Affidavit-which,             again,        was        practically

identical       to    the    First Affidavit-was            "far     from"       a    bare bones

affidavit. Haas, 2017 WL 1712521, at *10. Weber does not change

this conclusion.            There,      the affiant relied on his knowledge of

the    general        habits      of     "child      molesters,"       "pedophiles,"            and
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"child pornography collectors"                        to    support       his    contention that

certain evidence would be in the defendant's house,                                   even though

"there was not a whit of evidence in the affidavit                                       indicating

that     [defendant]         was    a     'child molester.'"              Weber,    923     F. 2d at

1345.    Here,        in contrast,         the First Affidavit clearly "lay [s)                      a

foundation which shows that the person subject to the search"-

Haas-"is        a    member       of"    at     least       two    of    those     classes-"child

molesters"           and     "child           pornography          collectors."          Id. ;     see

also First            Aff. '11'11 7-22.         Accordingly,             characterizing           that

document as bare bones is a mistake.

        This conclusion is reinforced by examining Haas' individual

arguments.          The Court       previously            rejected       Haas'    assertion       that

the     First       Affidavit       did       not    establish          CW's    reliability      when

considering           the        first     motion          to     suppress.       Indeed,        after

detailing the pertinent facts in the Second Affidavit, the Court

noted    that        "it    is    difficult          to    imagine       additional      steps     the

agents could have taken to corroborate CW' s credibility." Haas,

2017     WL         1712521,       at     *6        (quotation       marks       omitted) .       Haas

identifies no bases for reconsidering that decision here.

        Likewise,          the     First       Affidavit          contains       ample     "indicia

[that]     [Haas]       actually possessed child pornography."                           Def.    Mot.

at 5. Haas correctly notes that his alleged possession of child
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pornography is supported almost entirely by CW's statement that

she observed pornography on Haas'                 laptop.    But he misstates the

applicable          standard     here;   "probable       cause         requires     only    a

probability or substantial chance of criminal activity,                             not an

actual showing of such activity." Gates,                    462 U.S.           at 243 n.13

{emphasis added);             see also Gary,      528    F. 3d at       327;    Taylor,    13

F.3d at 121. CW's statements support that likelihood because the

FBI's corroboration of several details from CW implies that her

description of the             images on Haas'         computer is also accurate.

See United States v. Lalor,              996 F.2d 1578, 1581 {4th Cir. 1993)

("Corroboration of apparently innocent details of an informant's

report tends to indicate that other aspects of the report are

also correct." (citing Gates, 462 U.S. at 244)). Furthermore, CW

did not need any experience with child pornography to observe

that the girls in the pictures on Haas'                   laptop were "in various

stages   of         undress    and   engaged      in    sexually        explicit     acts,"

especially given the significant number of images that she saw.

First Aff.      ~    8. Accepting Haas' view would in effect prevent the

Court    from        finding    probable    cause       unless     a     forensic     child

pornography          expert     stated     that    he     personally           observed     a

defendant     with      pornography.     That     approach is          both    ill-advised

and inconsistent with precedent.
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        Finally,    Magistrate Judge Young had sufficient information

to    find    a   nexus    between      Haas'       Jetta    and   evidence    of   child

pornography that          the   FBI    sought there.         "[T] he crucial     element

[of the probable cause inquiry] is not whether the target of the

search is suspected of a crime, but whether it is reasonable to

believe that the items to be seized will be found in the place

to be searched." Lalor,               996 F. 2d at 1582. This nexus "'may be

established by the nature of the item and the normal inferences

of where one would likely               keep such evidence,'" and does                not

demand       "direct   evidence       that    the    items    to   be   seized will    be

found at a particular location." Id.                    ( quoting United States v.

Anderson, 851 F.2d 727, 729 (4th Cir. 1988)}.

        Seen through this lens, the First Affidavit contains enough

facts    to connect Haas'         Jetta with evidence of his misconduct.

The Jetta is only referenced in the affidavit twice: CW saw Haas

in the Jetta once when they met in person, and the FBI observed

Haas    leaving his       residence      in     that   car on      several    occasions.

First Aff. ~~ 10, 23. 2 However, as noted, there is ample evidence



2
  The Government also claims that the Court can infer Haas' use
of the Jetta from allegations that he picked up and brought to
his residence a young girl whom he is alleged to have molested.
See First Aff. ~~ 15-16. Although the First Affidavit indeed
states that Haas drove the girl, id. ~ 16, it is impossible to
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to   show    that      Haas    possessed           child      pornography.            In    addition,

Gonzalez stated that,               in his experience with child exploitation

investigations,          "individuals             who   access       with       intent       to     view,

possess,     collect         and    receive       child pornography often maintain

their       collections .                  in     a     safe,            secure       and     private

environment,          such    as    a     computer                   These        collections         are

often    maintained          for     several          years    and        are     kept      close     by,

usually at the collector's residence,                          or inside the collector's

vehicle,     to       enable       the     individual         to     view       the    collection.n

Id. en 25 (d)     (emphasis added). This allegation was not enough to

create a nexus between Haas'                      Ford truck and evidence of child

pornography,        but the link is much closer here because Haas had

previously been observed driving the Jetta-his personal vehicle-

from his residence, where he was very likely to maintain illicit

material.       See    Haas,        2017    WL     1712521,         at    *9.     Taken     together,

these factors indicate that evidence of child pornography "was

likely to be storedn in the Jetta. Lalor,                                996 F.2d at 1582; see

also United States             v.       Suarez,       906   F. 2d    977,       98 4-85     ( 4th Cir.

1990).




determine whether he was using his personal or work vehicle at
the time, so that fact does not help show a nexus.
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        Based     on      these       circumstances,              there    was     a     sufficient

factual       nexus      between the       evidence          of Haas'       child pornography

possession        and     his    Jetta     to       allow     Magistrate         Judge       Young      to

infer     that     more        evidence     related         to    child     pornography            would

likely be found there. Accordingly, the information in the First

Affidavit gave Magistrate Judge Young a                             "substantial basis" to

conclude that probable cause existed,                             Gates,    4 62 u. S.        at    238,

and Haas' motion to suppress can be denied on that basis.

III. Application of Good Faith Exception

        Even     if     the    First     Affidavit          did    not    support       a     probable

cause finding,           the good faith exception precludes exclusion of

the    evidence         from    the     Jetta.      The     exclusionary         rule       "bars       the

prosecution            from    introducing          evidence        obtained      by        way    of     a

Fourth Amendment              violation."        Davis v.          United States,            564    U.S.

229,     232     (2011).        However,         under      the     good     faith          exception,

evidence        obtained        pursuant       to    a    search        warrant     issued         by     a

neutral magistrate does not need to be excluded if reliance on

the     warrant        was     'objectively          reasonable.'"          United          States       v.

Perez,    393 F.3d 457,           461     (4th Cir. 2004)               (quoting United States

v.    Leon,     4 68    U.S.    8 97,    922     ( 1984}} .       The    relevant      question          is

thus whether "a reasonably well trained officer would have known

that      the         search      was      illegal           despite        the        magistrate's
                                                    16
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authorization." Leon,             468 U.S. at 923. There are four situations

in which an officer's reliance cannot be considered "objectively

reasonable":

      (1)        where the magistrate was misled by information in an
                 affidavit that the officer knew was false or would
                 have known was false except for the officer's
                 reckless disregard of the truth;

      ( 2)       where the magistrate wholly abandoned his detached
                 and neutral judicial role;

      (3)        where the supporting affidavit was so lacking in
                 indicia of probable cause as to render official
                 belief in its existence entirely unreasonable; and

      (4)        where the warrant was so facially deficient, by
                 failing to particularize the place to be searched or
                 the things to be seized, that the executing officers
                 cannot reasonably presume it to be valid.

United States v. Williams,                  548 F.3d 311,      317-18    (4th Cir. 2008)

(citing      Leon,        468   U.S.   at     923).   Haas   argues     that   the   third

exception applies here.

      That contention is misguided.                   As detailed above,        evidence

that Haas possessed child pornography in his residence and used

his Jetta to get to and from that location gave Magistrate Judge

Young a solid basis on which to find probable cause. Even if the

First Affidavit was technically inadequate in that regard,                             the

indicia of probable cause to search the Jetta were stronger than

the   indicia        as    to   the    Ford    truck,    the    search    of   which   was


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permissible under the good faith                   exception.    See Haas,      201 7 WL

1712521, at *10. Similarly, this case is far less egregious than

Lalor,     in    which   the     third    Leon    exception     did    not   apply    even

though     the    underlying      affidavit       contained     no    statements     about

the   likelihood of          discovering     evidence    at     the    target   address.

See   996 F. 2d at       1583.    As a     result,    even if probable cause is

lacking,        the   good   faith    exception prevents         the    application     of

the exclusionary rule.

                                         CONCLUSION

      For the         foregoing   reasons,        DEFENDANT'S MOTION TO SUPPRESS

AND MOTION FOR A FRANKS HEARING (ECF No. 128) will be denied.

      It is so ORDERED.

                                                         Isl
                                     Robert E. Payne
                                     Senior United States District Judge

Richmond, Virg~~iy
Date: August~' 2018




                                             18
